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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 14-6456-GW(Ex)                                             Date      February 3, 2022
 Title             BASF Corporation, et al. v. APC Investment Co., et al.




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                          Terri A. Hourigan
                 Deputy Clerk                        Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:

                     Ronald A. Valenzuela                            Robert Martin - Liaison Counsel
                       Nancy S. Cohen                                        Robert D. Doty
                                                                         Christopher G. Foster
                                                                            Farheena Habib
                                                                            Earl L. Hagstrom
                                                                            James B. Harris
                                                                           Tammy M.J. Hong
                                                                          Megan S. Meadows
                                                                              Pete Nyquist
                                                                              Victor Otten
                                                                              Nicholas Pak
                                                                            Zachary Walton
                                                                            William D. Wick
 PROCEEDINGS:                 TELEPHONIC CONFERENCE


Court and counsel confer. For reasons stated on the record, the Court adopts its schedule issued on
February 2, 2022 [1012].

The Status Conference set for March 28, 2022 is taken off-calendar.




                                                                                                   :     11
                                                               Initials of Preparer   JG
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